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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


               ADVANCEMENT PROJECT                                )
                             Plaintiff                            )
                                v.                                )      Case No.   1:19-cv-0052-RC
U.S. DEPARTMENT OF HOMELAND SECURITY, et l                        )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          ADVANCEMENT PROJECT                                                                                                  .


Date:          04/08/2020                                                                   /s/ Daniel S. Blynn
                                                                                             Attorney’s signature


                                                                                    Daniel S. Blynn, Bar No. 488934
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